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Case 2:02-cv-00081-FCD-JEM Documé faa! Fed 11/25/08 pase FILED

UNITED STATES COURT OF APPEALS

FOR THE NINTH CIRCUIT NOV 12 2008

MOLLY C. DWYER, CLERK OF COURT
U.S. COURT OF APPEALS

 

MICHAEL ANTHONY, No. 06-15316
D.C. No. CV-02-00081-FCD/JFM
Petitioner - Appellant, Eastern District of California,
Sacramento
: FILED
GAIL LEWIS, MANDATE
NOV 2 5 2008
Respondent - Appellee. ouat
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The judgment of this Court, entered 08/20/08, takes effect this date.
This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

FOR THE COURT:
Molly C. Dwyer
Clerk of Court

By: Rhonda Roberts
Deputy Clerk
